INSTRUCTIONAL SERVICES                                                         Form 6241

Instruction

Challenged Materials


REVIEW OF INSTRUCTIONAL MATERIALS


Type of material (book, film, pamphlet, etc.): ___________________________________
Title of material: __________________________________________________________
Author: _________________________________________________________________
Publisher: _______________________________________________________________
Your name, address, telephone number: _______________________________________
Do you have a child in the school concerned? ___________________________________
Complainant also represents others: __________________________________________
(organization-name) _______________________________________________________
(other group-identify) ______________________________________________________

To what part of the material do you object: Cite words, page numbers: ______________
________________________________________________________________________
Are you familiar with the range of materials used in the school system on this topic? ______

Do you approve of presenting a diversity of points of view about this material in the
classroom? ______________________________________________________________
Should this be withdrawn from all students?       Yes ____________ No ______________
____________________________________              _________________________________
Signature of Complainant                          Date
Please give/send this information to:             _________________________________
                                                  Superintendent
                                                  _________________________________
                                                  Address
                                                  _________________________________




                                                                                 Exhibit 13
